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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    IN RE: GENERIC PHARMACEUTICALS                                    MDL 2724
    PRICING ANTITRUST LITIGATION                                      16-MD-2724


    THIS DOCUMENT RELATES TO:
                                                                      HON. CYNTHIA M. RUFE
    ALL END-PAYOR ACTIONS


                            MOTION TO AMEND PRETRIAL ORDER NO. 6

           The undersigned counsel respectfully move this Court for an Order amending Pretrial

Order No. 6 appointing leadership of the End-Payor Class (“Leadership Order”) to substitute

DiCello Levitt Gutzler for Labaton Sucharow LLP as the firm affiliated with Gregory Asciolla,

who was appointed to the Plaintiffs’ Steering Committee for the End-Payor Class (“PSC”) by the

Court on November 28, 2016. (ECF No. 84).

           Since that time, and at the direction of Lead Counsel, Mr. Asciolla has managed the case

and workload on a day-to-day basis on behalf of Labaton, overseeing his litigation team and

working closely and effectively with Lead Counsel and the other members of the PSC. He has

been intimately involved in all aspects of this litigation, diligently fulfilling the duties and

responsibilities described and authorized by the Court in its Leadership Order. Mr. Asciolla is

completely familiar with all of the law, facts and issues of the case.

           On March 7, 2022, Mr. Asciolla joined the law firm DiCello Levitt Gutzler as a partner.1

Mr. Asciolla now respectfully moves to amend the Leadership Order to reflect his new firm

affiliation. This motion is supported by lead counsel Roberta Liebenberg of Fine Kaplan and

Black, R.P.C., and by Labaton Sucharow, as well as the plaintiff with whom Mr. Asciolla and


1
    For additional information about DiCello Levitt Gutzler, see https://dicellolevitt.com.
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Labaton filed their original case, UFCW Local 1500 Welfare Fund. Additionally, the other

attorneys principally working on the case, Robin van der Meulen, Karin Garvey, Jonathan

Crevier, and Veronica Bosco are also joining DiCello Levitt and will continue to work on this

litigation. Thus, Mr. Asciolla and DiCello Levitt, together with his established team and based on

their demonstrated commitment to the case, will continue to fulfill their responsibilities and

obligations in the best interests of the End-Payor Class as a member of the PSC.

       For these reasons, counsel respectfully request that this Court amend its Leadership Order

to substitute Dicello Levitt Gutzler as the firm affiliation of PSC member Gregory Asciolla.



Dated: March 7, 2022                          Respectfully submitted,


 /s/ Gregory S. Asciolla
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 Robin A. van der Meulen
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 [Proposed] Plaintiffs’ Steering Committee
 for the Proposed End-Payor Class
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on March 7, 2022, I caused the foregoing Motion to Amend Pretrial

Order No. 6 to be filed electronically with the Clerk of the Court using the CM/ECF system, which

will serve a copy on all interested parties registered for electronic filing and is available for viewing

and downloading from the ECF system.

                                                        /s/ Gregory S. Asciolla
                                                        Gregory S. Asciolla
